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        B2400A/B ALT(Form 2400A/B AL1) (12/15)

6.    Using                                                    8,175.05
      information from      6a.   Combined monthly         $---                     6e.     Monthly income from         $   8,175.05
      Schedule I: Your            income from line 12                                       all sources after payroll
      Income (Official            of Schedule I                                             deductions.
      Forml06I) and
      Schedule J: Your
      Expenses
      (Official Form
       106J), fill in the
      amounts.                                                 8,115.41                                                      8,115.41
                            6b.   Monthly expenses         $---                     6f      Monthly Expenses            $
                                  from line 22c of
                                  Schedule J
                                                                0                                                            0
                            6c.   Monthly payments          ---                     6g.     Monthly payments on         $
                                  on all reaffirmed                                         all reaffirmed debts not
                                  debts not listed on                                       included in monthly
                                  Schedule J                                                expenses
                            6d.   Scheduled net                59.64                6h.     Present net monthly
                                                                                                                            59.64
                                                           $                                                            $
                                  monthly income                                            income. Subtract lines
                                  Subtract lines 6b                                         6f and 6g from 6e. If
                                  and 6c from 6a. If                                        the total is less than 0,
                                  the total is less than                                    put the number in
                                  0, put the number in                                      brackets.
                                  brackets.

7.    Are the income        □X No
      amounts on lines      □ Yes.      Explain why they are different and complete line 10.
      6a and 6e
      different?

8.    Are the expense       □X No
      amounts on lines      □ Yes.      Explain why they are different and complete line 10.
      6b and 6f
      different?

9.    Are the net           □X No
      monthly income        □ Yes.      A presumption of hardship arises (unless the creditor is a credit union).
      in line 6h less                   Explain how the debtor will make monthly payments on the reaffirmed debt and pay other
      than 0?                           living expenses.


10.   Debtor's
      certification         I certify that each explanation on lines 7-9 is true and correct.
      about lines 7-9

      If any answer on
      lines 7-9 is Yes,     X �ffr �                 �         ��               X
      the debtor must        Signature of Debtor I                               Signature of Debtor 2 (Spouse Only in a Joint Case)
      sign here.

      If all answers on
      ine 7-9 are No, go
      to line I 1.

11.   Did an attorney     □ No
      represent the       □X Yes.        Has the attorney executed a declaration or an affidavit to support the reaffirmation
      debtor in                          agreement?
        Reaffirmation Agreement                            2019-004926 iog                                         Page 2 of12
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                                                 X




                                         X
X

X
X
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                                                8,175.05
                    5,668.78.      2,506.27
